  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  McDonnell Crowley, LLC
  115 Maple Avenue
  Red Bank, NJ 07701                                                           Order Filed on October 3, 2019
                                                                                          by Clerk
  (732) 383-7233                                                                  U.S. Bankruptcy Court
  bcrowley@mchfirm.com                                                             District of New Jersey
  Brian T. Crowley
  Counsel to John M. McDonnell,
  Chapter 7 Trustee




                                                              Case No.:   _____________________
                                                                                19-12556
  In Re:
  ELIA J. ZOIS and MARIANA ZOIS,                              Chapter:    _____________________
                                                                                    7

                    Debtors.                                  Judge:      _____________________
                                                                                  KCF




                                  ORDER AUTHORIZING RETENTION OF

                               ______________________________________________
                                              Perkins Coie LLP



           The relief set forth on the following page is ORDERED.




DATED: October 3, 2019
Upon the applicant’s request for authorization to retain ______________________________________
                                                                    Perkins Coie LLP
as __________________________________________,
        Special Counsel to Chapter 7 Trustee   it is hereby ORDERED:

1.     The applicant is authorized to retain the above party in the professional capacity noted.
       The professional’s address is:    _________________________________
                                         1155 6th Avenue, 22nd Floor
                                         _________________________________
                                         New York, New York 10036
                                         _________________________________

2.     Compensation will be paid in such amounts as may be allowed by the Court on proper
       application(s).

3.     If the professional requested a waiver as noted below, it is ☐ Granted ☐ Denied.

       ☐ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

       ☐ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a chapter
       13 case. Payment to the professional may only be made after satisfactory completion of
       services.

4.     The effective date of retention is the date the application was filed with the Court.




                                                                                                   rev.8/1/15

                                                 2
